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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION


Shandra Forsha,                                 :
                                                :
               Plaintiff,                       :
                                                :   Case Number: 1:17cv750
       vs.                                      :
                                                :   Judge Susan J. Dlott
Miami Valley Hospital, et al.,                  :
                                                :
               Defendants.                      :

                                 JUDGMENT IN A CIVIL CASE


        Decision by Court: This action came to trial or hearing before the Court. The issues have
been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED

. . .that Defendant United States of America’s Motion to Dismiss for Failure to Exhaust
Administrative Remedies (Doc. 5) is GRANTED and the Complaint against the United States is
DISMISSED WITHOUT PREJUDICE. And, pursuant to 28 U.S.C. § 1447(c), the Clerk is
ORDERED to REMAND this civil action to the Warren County, Ohio Court of Common Pleas.




12/7/17                                                     RICH NAGEL, CLERK


                                                             S/William Miller
                                                            Deputy Clerk
